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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 ALFRED W. THOMAS,

        Plaintiff,

 v.                                                             Case No: 8:17-cv-2254-T-36CPT

 WASTE PRO USA, INC. and WASTE PRO
 OF FLORIDA, INC.,

       Defendants.
 ___________________________________/

                                           ORDER

        This cause comes before the Court upon the Report and Recommendation filed by

 Magistrate Judge Christopher P. Tuite on October 21, 2020 (Doc. 400). In the Report and

 Recommendation, Magistrate Judge Tuite recommends that the Court grant the parties' Joint

 Motion for Approval of Settlement and Dismissal with Prejudice (Doc. 398). All parties were

 furnished copies of the Report and Recommendation and were afforded the opportunity to file

 objections pursuant to 28 U.S.C. § 636(b)(1). No such objections were filed.

        Upon consideration of the Report and Recommendation, and upon this Court's independent

 examination of the file, it is determined that the Report and Recommendation should be adopted.

 Accordingly, it is now

        ORDERED AND ADJUDGED:

        (1)     The Report and Recommendation of the Magistrate Judge (Doc. 400) is adopted,

                confirmed, and approved in all respects and is made a part of this Order for all

                purposes, including appellate review.

        (2)     The parties’ Joint Motion for Approval of Settlement and Dismissal with Prejudice

                (Doc. 398) is GRANTED.          The Settlement Agreement (Doc. 398 - 1) is
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               APPROVED, as it constitutes a fair and reasonable resolution of a bona fide

               dispute.

        (3)    This action is DISMISSED, with prejudice.

        (4)    The Clerk is directed to terminate all pending motions and close this case.

        DONE AND ORDERED in Tampa, Florida on November 9, 2020.




 Copies to:
 The Honorable Christopher P. Tuite
 Counsel of Record




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